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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                Plaintiff,                         )
                                                   )
        v.                                         )       Civil Action No. 20-1580 (RCL)
                                                   )
 JOHN R. BOLTON,                                   )
                                                   )
                Defendant.                         )
                                                   )

   PLAINTIFF’S NOTICE REGARDING DEFENDANT’S MOTION TO DISMISS

       By and through its undersigned counsel, Plaintiff the United States of America respectfully

files this Notice regarding Defendant’s still-pending motion to dismiss, which both parties now

recognize is moot and to which Plaintiff respectfully submits no response is required.

       Defendant filed a motion to dismiss Plaintiff’s complaint on June 18, 2020. See ECF No. 8.

The United States amended its complaint the next day. See ECF No. 18. Pursuant to Local Civil

Rule 7(b), Plaintiff’s opposition to Defendant’s motion would be due within fourteen days, or on

July 2, 2020. However, “[w]hen a plaintiff files an amended complaint as of right within 21 days

after the filing of the motion to dismiss under Rule 12(b) . . . the amended complaint becomes the

operative pleading, and any pending motion to dismiss becomes moot.” Barnes v. District of

Columbia, 42 F. Supp. 3d 111, 117 (D.D.C. 2014) (internal citations omitted); see also Johnson v.

Panetta, 953 F. Supp. 2d 244, 251 (D.D.C. 2013) (same); Gray v. D.C. Pub. Sch., 688 F. Supp. 2d

1, 6 (D.D.C. 2010) (same).

       Counsel for the Plaintiff asked counsel for the Defendant to confirm this understanding.

Defense counsel responded by email on June 25, 2020 that “[w]e agree that the currently pending

motion to dismiss the original complaint has been rendered moot by the filing of the amended
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complaint.” Accordingly, in light of the fact that Defendant’s motion to dismiss is moot, Plaintiff

does not intend to file a substantive opposition absent further direction by the Court.

 Dated: June 26, 2020                              Respectfully submitted,

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                                                   Assistant Attorney General

                                                   MICHAEL SHERWIN
                                                   Acting United States Attorney

                                                   ETHAN P. DAVIS
                                                   Principal Deputy Assistant Attorney General

                                                   DAVID M. MORRELL
                                                   Deputy Assistant Attorney General

                                                   ALEXANDER K. HAAS
                                                   Director
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                                                           /s/ Daniel F. Van Horn
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                                                           /s/ Michael J. Gerardi
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                                                    Counsel for the United States of America




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